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     ESTABAN DIAZ-SOTO
 6

 7                           IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT of CALIFORNIA
 9
                                                       ) Case No.: 19-CR-00242 NONE-SKO
10   UNITED STATES OF AMERICA,                         )
                                                       )
11                   Plaintiff,                        ) DEFENDANTS REQUEST AND WAIVER
                                                       ) OF APPEARANCE
12           vs.                                       )
                                                       )
13   ESTABAN DIAZ-SOTO,                                )
                                                       )
14                   Defendant                         )
15   Defendant, ESTABAN DIAZ-SOTO, hereby waives his appearance in person in open court upon
16   the Motion for Bail Review Hearing set for Friday, April 10, 2020 of the above entitled court.
17   Defendant hereby requests the court to proceed in his absence and agrees that his interest will be
18   deemed represented at said hearing by the presence of his attorney, DAVID A. TORRES and/or
19   his associate. It is defense counsels understanding that all federal inmate that are currently
20   housed in the Lerdo Facility are under quarantine. Defendant further agrees to be present in
21   person in court at all future hearing dates set by the court including the dates for jury trial.
22   Date: April 8, 2020                                             /s/Estaban Diez-Soto_____
23
                                                                     Estaban Diaz-Soto

24

25
     Date: April 8, 2020                                             /s/Alekxia Torres Stallings_____
                                                                     ALEKXIA TORRES STALLINGS,
                                                                     On Attorney for Defendant
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 1                                               ORDER

 2            Good cause appearing.

 3            IT IS HEARBY ORDERED that defendant Estaban Diaz-Soto is hereby excused from

 4   appearing at this court hearing scheduled for Friday, April 10, 2020.

 5
     IT IS SO ORDERED.
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 7
     Dated:     April 8, 2020
                                                       UNITED STATES MAGISTRATE JUDGE
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